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                                                               United States Bankruptcy Court
                                                                      District of Maryland
            Kempes Jean
 In re      Lori Lee Jean                                                                           Case No.   20-10883
                                                                                Debtor(s)           Chapter    7




                                               AMENDED VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date: February 13, 2020                                             /s/ Kempes Jean
                                                                     Kempes Jean
                                                                     Signature of Debtor

 Date: February 13, 2020                                             /s/ Lori Lee Jean
                                                                     Lori Lee Jean
                                                                     Signature of Debtor




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    American Education Services
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    Harrisburg, PA 17105-2461



    Banana Republic
    PO Box 530942
    Altanta, GA 30353-0942



    Best Buy
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    Louisville, KY 40290-1007



    Bloomingdales
    PO Box 78008
    Phoenix, AZ 85062-8008



    Capital One
    PO Box 30285
    Salt Lake City, UT 84130-0287



    Comptroller of Maryland
    Revenue Administration Division
    110 Carroll Street



    Express
    PO Box 659728
    San Antonio, TX 78265-9728



    IRS
    1260 Maryland Avenue
    Hagerstown, MD 21740



    Jack Fisher
    209 Whitetail Dr
    Bellefonte, PA 16823
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Mercedes-Benz Financial Services USA LLC
13650 Heritage Parkway
Fort Worth, TX 76177



Navy Federal Credit Union
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Merrifield, VA 22119-3100



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